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  8                        United States District Court
  9                        Central District of California
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 11   SONIA PEREZ, individually, and on         Case № 2:17-cv-02448-ODW (AGR)
 12   behalf of a class of similarly situated
 13   individuals,                              JUDGMENT
 14                       Plaintiff,
 15         v.
 16   THE KROGER CO.; and DOES 1–10,
 17                       Defendants.
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Case 2:17-cv-02448-ODW-AGR Document 82 Filed 09/28/18 Page 2 of 2 Page ID #:1162




  1         The Court, having granted Defendant’s Motion for Summary Judgment, IT IS
  2   HEREBY ORDERED:
  3         1.     Plaintiff shall take nothing by her complaint against Defendant;
  4         2.     The action is dismissed with prejudice; and
  5         3.     Judgment is entered in favor of Defendant The Kroger Co.
  6
  7         The Court VACATES all dates and deadlines. The Clerk of the Court shall
  8   close the case.
  9
 10         IT IS SO ORDERED.
 11         Date: September 28, 2018
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 13                                ____________________________________
 14                                         OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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